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                             UN ITED STA TES D ISTRICT CO URT
                             SOUTHERN DISTRICT OF FLORID A

                      CA SE N O .16-21874-C1V -M O ORE/M CAL1LEY


  CUTHBERT HA REW O OD,

                Plaintiff,



  JOHN A LEXAN DER,etal.

               D efendants.
                                            /

                 O RD ER FO LLO W IN G DISCO V ER Y C O N FER EN C E

         On N ovem ber 17,2016,the Courtheld a discovery conference on D efendantJohn

  Alexander'sM otion to Com pelPlaintiffto Respond to Defendant'sRequestforProduction

  andlnterrogatories.(DE 31q.TheCourthasconsideredtherecord,aswellastheargument
  ofcounselduring the discovery conference.Forthereasonsstated atthe conference, which

  are incom orated in thisO rder,the CourtORD ERS as follow s:

        PlaintiffsM otion to Compel(DE 31j,isGRANTED in partasfollows:
               N o later than Novem ber 28,2016,Plaintiffshallservehisresponsesto the

  written discovery.Priorto thatdate,the parties shallm eetand conferin an effortto reach

  agreem entaboutany disputesregarding thatdiscovery.
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                 The m otion isothenvise denied.

          DON E AN D O RDERED in cham bersatM iam i,Floridathis 17th day ofN ovem ber,

  2016.


                                                     'Tpk
                                                     J               '(
                                          CH RIS M CALILEY
                                          UN ITED STA TES M A GISTRATE JUD GE
  Copiesto:
  The H onorable K .M ichaelM oore
  CounselofRecord
